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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


CONER S. REED, individually, and on behalf               )
of all others similarly situated,                        )
                                                         )
         Plaintiff,                                      )
                                                         )
v.                                                       ) Case No.: 2:22-cv-02265-SHL-cgc
                                                         )
TRUGREEN LIMITED PARTNERSHIP,                            )
                                                         )
         Defendant.                                      )


          JOINT REPORT OF THE PARTIES’ RULE 26(f) PLANNING MEETING


         Plaintiff Coner S. Reed and Defendant TruGreen Limited Partnership submit the following

as their Joint Report of the Parties’ Rule 26(f) Planning Meeting:

         1.        The following persons participated in a Rule 26(f) conference on June 3, 2022, by

telephone/videoconference: Mohammed O. Badwan, attorney for Plaintiff; George T. Lewis, III,

and Ryan A. Strain, attorneys for Defendant.

         2.        Initial Disclosures: See Paragraphs 3 and 3(d) below.

         3.        Discovery Plan: Defendant contends the parties agreed to arbitrate the claim

asserted in Plaintiff’s Complaint and, pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et seq.,

Defendant intends to file a motion to stay this action (including any requirement that Defendant

further move, answer, plead, or otherwise respond to Plaintiff’s Complaint) until any such

arbitration is complete. The parties agree discovery should not commence until after the Court

determines whether this action should be arbitrated. If the Court determines this action should not

be arbitrated, the parties jointly propose the following discovery plan:



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                   (a)   Discovery will be needed on these subjects: The basis of the claims in

         Plaintiff’s Complaint, the basis of any liability of Defendant, Defendant’s defenses,

         whether a class action can be maintained, and the basis of legally recoverable damages

         under applicable law.

                   (b)   Disclosure or discovery of electronically stored information (“e-discovery”)

         should be handled as follows: Pursuant to the default standards described in Local Rule

         26.1(e), until such time, if ever, the parties reach an agreement and the court approves the

         parties’ e-discovery plan.

                   (c)   The parties have agreed to an order regarding claims of privilege or of

         protection as trial-preparation material asserted after production, as follows: If privileged

         or protected information is inadvertently produced, the producing party may, by timely

         notice, assert the privilege or protection and obtain the return of the materials without

         waiver.

                   (d)   Dates for commencing and completing discovery, including discovery to be

         commenced or completed before other discovery: As set forth in Paragraph 3 above, the

         parties agree discovery should not commence until after the Court determines whether this

         action should be arbitrated. If the Court determines this action should not be arbitrated

         (and subject to any stay of discovery), then 30 days after such determination the parties

         should serve initial disclosures required by Rule 26(a)(1) and commence discovery limited

         to whether this case should be maintained as a class action. Discovery on other issues

         should be stayed until 30 days after the Court rules on a motion to certify this case as a

         class action or motion to strike Plaintiff’s class allegations. Fact discovery should be

         complete within 8 months after the parties commence discovery on issues other than

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         whether this case should be maintained as a class action. Expert discovery should be

         complete 3 months after the completion of fact discovery.

                   (e)     Maximum number of interrogatories by each party to another party, along

         with dates the answers are due: Maximum of 25 interrogatories by each party to another

         party, unless otherwise agreed or ordered by the Court. Answers and/or objections should

         be due 30 days after service, unless otherwise agreed or ordered by the Court.

                   (f)     Maximum number of requests for admission, along with the dates responses

         are due: Maximum of 25 requests for admission by each party to another party, unless

         otherwise agreed or ordered by the Court. Responses and/or objections should be due 30

         days after service, unless otherwise agreed or ordered by the Court.

                   (g)     Maximum number of depositions for each party: 5, unless otherwise agreed

         or ordered by the Court.

                   (h)     Limits on the length of depositions, in hours: 7 hours per deposition, unless

         otherwise agreed or ordered by the Court.

                   (i)     Dates for exchanging reports of expert witnesses: Plaintiff should disclose

         his Rule 26 expert information 1 month after the close of fact discovery. Defendant should

         disclose its Rule 26 expert information 2 months after the close of fact discovery.

                   (j)     Dates for supplementations under Rule 26(e): No later than 30 days before

         the trial date.

         4.        Other Items:

                   (a)     A date if the parties ask to meet with the court before a scheduling order:

         The Court has set a scheduling conference on June 23, 2022, at 2:00 p.m. Central, to be

         held via Microsoft Teams.

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                   (b)    Requested dates for pretrial conferences: 2 weeks before the trial date.

                   (c)    Final dates for the plaintiff to amend pleadings or to join parties: Within 2

         months after Defendant files an Answer.

                   (d)    Final dates for the defendant to amend pleadings or to join parties: Within

         2 months after filing an Answer.

                   (e)    Final dates to file dispositive motions: Within 1 month after close of expert

         discovery.

                   (f)    Prospects for settlement: The parties have had initial settlement discussions,

         but it is too early to determine the prospects for settlement.

                   (g)    Identify any alternative dispute resolution procedure that may enhance

         settlement prospects: Mediation pursuant to the Court’s ADR Plan.

                   (h)    Final dates for submitting Rule 26(a)(3) witness lists, designations of

         witnesses whose testimony will be presented by deposition, and exhibit lists: At least 30

         days before trial.

                   (i)    Final dates to file objections under Rule 26(a)(3): Within 14 days after Rule

         26(a)(3) witness lists, designations of witnesses whose testimony will be presented by

         deposition, and exhibit lists have been submitted.

                   (j)    Suggested trial date and estimate of trial length: The parties estimate trial

         will last 3 to 5 days but believe setting a trial date is premature until the Court has

         determined whether this action will be arbitrated.

                   (k)    Other matters:

                          i.     Maximum number of requests for production, along with the dates

                   responses are due: Maximum of 25 requests for production by each party to another

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                   party, unless otherwise agreed or ordered by the Court.        Responses and/or

                   objections should be due 30 days after service, unless otherwise agreed or ordered

                   by the Court.

                                                Respectfully submitted,

                                                /s/ Ryan A. Strain
                                                George T. Lewis, III (TN BPR #7018)
                                                Ryan A. Strain (TN BPR #27565)
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 16, 2022, the foregoing document will be served via the

Court’s electronic filing notification, to the following:

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                                               /s/ Ryan A. Strain
                                               Ryan A. Strain




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